                EXHIBIT 5




Case 3:22-cv-00771 Document 1-5 Filed 09/30/22 Page 1 of 5 PageID #: 427
9/30/22, 11:23 AM                                                                Case Summary




                                                         22C1563 : DOE V ENDO HEALTH SOLUTIONS INC.
                                                                      DAVIDSON COUNTY CLERK OF COURTS




                                                                                   Plaintiff       DOE, BABY et al
   Case Number      22C1563
                                                                                  Defendant        ENDO HEALTH SOLUTIONS INC. et al
    Case Type       DAMAGE/TORT COMPLAINT
                                                                                    Judge          AMANDA MCCLENDON - 2nd Circuit
      Opened        08-03-2022
                                                                                Amt. of Claim      $0.00
      Status        Pending
                                                                                Jury/Non Jury      Jury
   Show/Hide Participants

            File Date                                                               Case History
 09-28-2022                      Filed By: ENDO HEALTH SOLUTIONS INC.
 Defendant                        BANKRUPTCY FILED 1ST PAGE - ALL DOCS BOUND (ON SHELF)D1

 09-27-2022                      Filed By: TEVA PHARMACEUTICALS USA INC.
 Defendant                        ORDER DECLINE REQUEST TO TRANSFER TO BUSINESS COURT

 09-23-2022                      Filed By: TEVA PHARMACEUTICALS USA INC.
 Defendant                        REQUEST FOR DESIGNATION TO THE BUSINESS COURT

 09-22-2022                      Filed By: ABBOTT, TIMOTHY
 Defendant                        ORDER EXTENDING RESPONSIVE PLEADING DEADLINE

 09-20-2022                      Filed By: TEVA PHARMACEUTICALS USA INC.
 Defendant                        NOTICE OF APPEARANCE FOR TEVA PHARM, ACTAVIS, ACTAVIS PHARMA AND WATSON LAB

 09-19-2022                      Filed By: JOHNSON & JOHNSON INC.
 Defendant                        NOTICE OF APPEARANCE T.MAYES & A.THARP FOR D13.D14

 09-19-2022                      Filed By: MEHTA, HEMAL
 Defendant                        NOTICE OF APPEARANCE R.PEAL,G.FOX FOR D30 MEHTA

 09-14-2022                      Filed By: ALLERGAN FINANCES LLC
 Defendant                        NOTICE OF APPEARANCE C.VLAHOS,J.HARRIS FOR D9 ALLERGAN FINANCE, LLC

 09-14-2022                      Filed By: WALMART INC.
 Defendant                        APPEARANCE LETTER JOSHUA BURGENER FOR D26.D27 WALMART DEFTS

 09-12-2022                      Filed By: DOE, BABY
 Plaintiff                        RETURN OF SERVICE D29-SERVED SUMMONS - CINDY SCOTT RT-09/09/2022

 09-12-2022                      Filed By: DOE, BABY
 Plaintiff                        ALIAS SUMMONS PERSONAL -D24 W/C & EX

 09-12-2022                      Filed By: DOE, BABY
 Plaintiff                        ALIAS SUMMONS PERSONAL -D20 W/C & EX

 09-12-2022                      Filed By: DOE, BABY
 Plaintiff                        ALIAS SUMMONS PERSONAL -D13 W/C & EX

 09-08-2022                      Filed By: DOE, BABY
 Plaintiff                        RETURN OF SERVICE D17-SERVED RT-08/31/2022

 09-08-2022                      Filed By: DOE, BABY
 Plaintiff                        RETURN OF SERVICE D16-SERVED RT-08/31/2022

 09-08-2022                      Filed By: DOE, BABY
 Plaintiff                        RETURN OF SERVICE D12-SERVED RT-09/07/2022

 09-08-2022                      Filed By: DOE, BABY
 Plaintiff                        RETURN OF SERVICE D9-SERVED RT-09/07/2022

 09-07-2022                      Filed By: DOE, BABY
 Plaintiff                        RETURN OF SERVICE D8-SERVED TEVA PHARMACEUTICALS RT-08/31/2022

 09-07-2022                      Filed By: DOE, BABY
 Plaintiff                        RETURN OF SERVICE D5-SERVED IMPAX LABS RT-09/07/2022

 09-02-2022                      Filed By: DEL MAR MEDICAL INC. D/B/A PARDUE'S PHARMACY
 Defendant                        ANSWER OF D3(DEL MAR) TO COMPLAINT

 09-02-2022                      Filed By: DEL MAR MEDICAL INC. D/B/A PARDUE'S PHARMACY
 Defendant                        NOTICE OF APPEARANCE (L.POPE / W.HAWKINS) FOR D33(DEL MAR)

 09-01-2022                      Filed By: ABBOTT, TIMOTHY
 Defendant                       ORDER - SUBMITTED EXTENDING RESPONSIVE PLEADING DEADLINE
 09-01-2022                      Filed By: ABBOTT, TIMOTHY
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 Defendant                     MOTION 09/16/2022 - OF D28 (UNOPPOSED)TO EXTEND RESPONSIVE PLEADING DEADLINE

 09-01-2022                   Filed By: ABBOTT, TIMOTHY
 Defendant                     NOTICE OF APPEARANCE KYLE MOTHERSHEAD FOR D28 ABBOTT

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D25-SERVED WALGREEN CO. RT-08/30/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D27-SERVED WAL-MART STORES EAST, LP RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D26-SERVED WALMART, INC. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D21-SERVED TENNESSEE CVS PHARMACY, LLC RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D23-SERVED RITE AID OF TENNESSEE, INC. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D24-SERVED RITE AID OF MARYLAND, INC. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D22-SERVED RITE AID HDQTRS., CORP. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D13-SERVED JOHNSON & JOHNSON, INC. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D14-SERVED JANSSEN PHARMACEUTICALS, INC. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D19-SERVED CVS TN DISTRIBUTION, INC. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D18-SERVED CVS PHARMACY, INC. RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D20-SERVED CVS INDIANA, LLC RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D15-SERVED AMERISOURCEBERGEN RT-08/26/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D11-SERVED ACTAVIS PHARMA, INC. RT-08/25/2022

 08-30-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D10-SERVED ACTAVIS LLC RT-08/25/2022

 08-30-2022                   Filed By: WALGREEN CO.
 Defendant                     NOTICE OF APPEARANCE WOJCIK FOR D25 WALGREEN CO

 08-30-2022                   Filed By: WALGREEN CO.
 Defendant                     NOTICE OF APPEARANCE MALLOY FOR D25 WALGREEN CO

 08-30-2022                   Filed By: WALGREEN CO.
 Defendant                     NOTICE OF APPEARANCE EVANS,GRIFFIN,WOJCIK,MALLOY FOR D25 WALGREEN CO

 08-29-2022                   Filed By: DOE, BABY
 Plaintiff                     ALIAS SUMMONS PERSONAL -D29 W/C & EX

 08-29-2022                   Filed By: DOE, BABY
 Plaintiff                     ALIAS SUMMONS PERSONAL -D32 W/C & EX

 08-23-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D32-NOT FOUND SUMMONS - JAMES MACCARONE RT-08/08/2022

 08-23-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D29-NOT FOUND SUMMONS - CINDY SCOTT RT-08/08/2022

 08-23-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D28-SERVED SUMMONS - TIMOTHY ABBOTT RT-08/11/2022

 08-23-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D30-SERVED SUMMONS - HEMAL MEHTA RT-08/08/2022

 08-23-2022                   Filed By: DOE, BABY
 Plaintiff                     RETURN OF SERVICE D33-SERVED SUMMONS - DEL MAR MEDICAL RT-08/08/2022

 08-16-2022                   Filed By: DOE, BROTHER
 Plaintiff                     ORDER ORDER APPOINTING GUARDIAN AD LITEM

 08-04-2022                   Filed By: DOE, BABY
 Plaintiff                     ORDER ALLOWING COMPLAINT TO BE FILED UNDER PSEUDONYM

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D8 W/C, EX
 08-03-2022                   Filed By: DOE, BABY
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 Plaintiff                     SUMMONS PERSONAL SERVICE-D7 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D6 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D5 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D4 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                    ORDER - SUBMITTED TO APPOINT GAL

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D3 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     EXHIBITS E-FILED EX. A TO MOTION TO APPOINT GAL

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     MOTION - OF P1 MOTION TO APPOINT GAL

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                    ORDER - SUBMITTED TO PROCEED BY PSEUDONYM

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     AFFIDAVIT AFFIDAVIT ISO MOTION TO PROCEED BY PSEUDONYM

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     MOTION - OF P1 TO PROCEED BY PSEUDONYM

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D33 W/, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D32 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D31 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D30 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D29 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D2 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D28 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D27 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D26 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D25 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D24 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D23 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D22 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D21 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D20 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D19 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D1 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D18 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D17 W/C, EX
 08-03-2022                   Filed By: DOE, BABY
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 Plaintiff                     SUMMONS PERSONAL SERVICE-D16 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D15 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D14 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D13 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D12 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D11 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D10 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     SUMMONS PERSONAL SERVICE-D9 W/C, EX

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     EXHIBITS E-FILED EX. A - CERTIFICATE OF GOOD FAITH

 08-03-2022                   Filed By: DOE, BABY
 Plaintiff                     DAMAGE/TORT COMPLAINT 269320*1




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